      Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 1 of 19            E-FILED
                                                                Allegany Circuit Court
                                                                    5/23/2018 2:25 PM
                             EXHIBIT A
ROBERT CANDY                       *     IN THE
10105 Cottage Inn Lane
Cumberland, Maryland 21502         *     CIRCUIT COURT

and                                *     FOR

ANIMAL PARK, CARE AND RESCUE, INC. *    ALLEGANY COUNTY,
10105 Cottage Inn Lane
Cumberland, Maryland 21502         *     MARYLAND

and                                *
                                                            C-01-CV-18-000253
                                   *    Case No.
TRI STATE ZOOLOGICAL PARK OF
WESTERN MARYLAND, INC.             *
10105 Cottage Inn Lane
Cumberland, Maryland 21502         *

              Plaintiffs           *

v.                                 *

PEOPLE FOR THE ETHICAL             *
TREATMENT OF ANIMALS, INC.
501 Front Street                   *
Norfolk, Virginia 23510
                                   *
Serve On:
Ingrid E. Newkirk                  *
501 Front Street
Norfolk, Virginia 23510            *

and                                *

BRITTANY PEET                      *
c/o the PETA Foundation
1536 16th Street, NW               *
Washington DC 20036
                                   *
and
                                   *
HOLLY BROWN
Address unknown                    *
Believed to reside in
Towson, Maryland
      Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 2 of 19




And

CASEY BROWN
Address unknown
Believed to reside in
Towson, Maryland

and

KRISTINE STASER
Address Unknown
Believed to reside in Ohio


and

DELCIANNA WINDERS
c/o PETA Foundation
1536 16th Street, NW
Washington, DC 20036

and

COLIN HENSTOCK
501 Front Street
Norfolk, Virginia 23510

and

CHRIS FONTES
501 Front Street
Norfolk, Virginia 23510


              Defendants
*     *       *     *        *    *




                                   COMPLAINT

      Now Come the Plaintiffs, by and through their undersigned counsel, Nevin L.

Young, and sue the Defendants, and state:



                                            2
       Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 3 of 19




                           FACTS COMMON TO ALL COUNTS

                                 Parties and Jurisdiction

        1.     The Plaintiffs are a Maryland individual, a Maryland Limited Liability

Company in good standing, and a Maryland Corporation in good standing, all being

residents of Allegany County, Maryland.

        2.     The Defendant People for the Ethical Treatment of Animals, Inc.

(hereinafter, PETA) is a Virginia Corporation headquartered in Norfolk, Virginia.

        3.     The Defendant Kristine Staser is an individual who, upon information

and belief, resides in Ohio based upon her own statements on her page on a social

media site known as Facebook. She claims on that same page to be an "undercover

agent" for PETA.

        4.    The Defendants Brittany Peet and Delcianna Winders are attorneys

for the Defendant PETA, Inc., although they are believed to be employed by a non-

Defendant entity known as the PETA Foundation.

        5.    The Defendants Casey Brown and Holly Brown are "volunteer"

investigators who worked on a casual basis in conspiracy with the other Defendants,

in violation of law, to injure the Plaintiffs' business interests and to defame the

Plaintiffs.

        6.    The Defendants Cohn Henstock and Chris Fontes are "investigators"

who work for the Defendant PETA to unlawfully infiltrate facilities they claim are

abusing or neglecting animals.

                                  Summary of Facts




                                           3
       Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 4 of 19




          7.    Defendant PETA is an animal rights activist group that most persons

would consider radical. They espouse a philosophy that no animal should be eaten,

worn, exhibited, or used for entertainment.

          8.    For at least 20 years, PETA has engaged in activity throughout the

country aimed at advancing their philosophy. They have engaged in press

campaigns and protests against zoos, circuses, fur sellers, supermarkets, butcher

shops, and a variety of other industries that are incompatible with PETA's central

tenets.

          9.    PETA also uses its activities to raise funds from persons who may be

sympathetic to its cause. PETA has annual revenues of approximately $48 million

dollars in 2017, but annual operating expenses of approximately $67 million, which

caused a significant drop in assets for the corporation.

          10.   One of PETA's many activities is to engage in litigation against those

who offend the core tenets of PETA. PETA has sued the Miami Seaquarium

unsuccessfully, and has also sued a large number of smaller zoos, circuses, and other

animal exhibitors, with varying levels of success. PETA also sued a photographer in

an attempt to establish copyright rights for a macaque that took a "selfie"

photograph with a photographer's camera.

          11.   Among the many smaller zoos that have become targets of PETA's

activism is Plaintiff Tri-State Zoological Park of Western Maryland, Inc. (hereinafter,

"Tri State").

       12.      Plaintiffs Tri State and Animal Park, Care and Rescue, LLC

(hereinafter, "Animal Park") are the creation of Robert Candy, who started and



                                            4
        Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 5 of 19




primarily operates the companies as a way to rescue, care for, and exhibit animals at

a small facility in Cumberland, Maryland.

        13.     Over the last several years, agents of PETA, at the time unidentified,

have entered the Plaintiffs' facility for the purpose of taking photographs designed

to cast the facility in the most unflattering light possible, and have entered while not

identifying themselves despite a sign that clearly states that anyone affiliated with

PETA must identify themselves before being admitted.

        14.     On multiple days in 2014 and 2015, Defendants Colin Henstock and

Chris Fontes, as well as another person not yet a defendant in this action, entered

the Plaintiffs' facility while it was closed for the season, by pretending to be there as

bona fide volunteers interested in helping the Plaintiffs by cutting wood, cleaning,

and doing general repairs. They lied about where they were from, saying they were

from Hagerstown, which was false. They also directly lied when Plaintiff Robert

Candy asked them if they were with any sort of animal rights organization.

        15.     Contrary to the false representations of the Defendants, the

Defendants arrived at the zoo with hidden cameras and hidden audio recording

devices in order to conduct an "undercover investigation" on behalf of Defendant

PETA.

        16.     The Defendants Colin Henstock and Chris Fontes, as well as a third

individual not yet named, therefore trespassed by false pretense upon the property

of the Plaintiffs.

        17.     PETA has made numerous meritless complaints to the United States

Department of Agriculture's APHIS (Animal and Plant Health Inspection Service),



                                            5
      Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 6 of 19




and has made meritless complaints also to the Animal Control authorities of

Allegany County, falsely alleging animal cruelty.

       18.     Most of the complaints made by PETA are meritless and PETA is

aware that those complaints lack merit, but PETA uses its campaign against the

Plaintiffs as a fund raising mechanism.

       19.    The Defendants Chris Fontes and Cohn Henstock, as well as a third

individual not herein identified, not only made surreptitious video footage of the

Plaintiffs' facility, but also made illegal audio recordings of Plaintiff Robert Candy

and a volunteer at the facility, Kathy Moran. Those illegal audio recordings

constituted and still do constitute a felony criminal offense in the State of Maryland.

       20.    Defendants Chris Fontes and Colin Henstock were sent to the

Plaintiffs' facility by in house counsel for PETA, Brittany Peet and Delcianna

Winders, both licensed attorneys but upon information and belief, not licensed to

practice law in the State of Maryland. Defendants Peet and Winders either

instructed Defendants Chris Fontes and Colin Henstock to make illegal and/or

tortious audio and video recordings of the Plaintiffs' facility, or, upon discovering

that they had done so, ratified such acts on behalf of Defendant PETA and decided to

make use of the illegally and tortiously obtained material. Defendants Peet and

Winders further knew that Defendants Henstock and Fontes would be entering onto

the premises under fraudulent pretenses.

       21.    Contrary to law, and in violation of their duties as attorneys not to

advocate, direct, or conspire in illegal activities, the Defendants Peet and Winders

sent Defendants Henstock and Fontes to conduct an illegal investigation of the



                                           6
      Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 7 of 19




Plaintiffs' facility. There may have been other PETA attorneys involved but

discovery will be required to determine if additional defendants should be made

parties to this case.

       22.     The Defendants Chris Fontes and Colin Henstock also specifically

attempted and partially succeeded in receiving a tour of the areas of the zoo where

the general public is not usually allowed. They took secret video and audio of those

visits in the employee areas of the zoo for the specific purpose of later using the

footage obtained to make a public safety complaint to the USDA APHIS service,

which licenses facilities that exhibit animals.

       23.     Upon information and belief, Defendants Peet and Winders

specifically knew or should have known that the activities of Fontes and Henstock

were illegal, and used that illegally obtained evidence to make a complaint to the

USDA APHIS service.

       24.     The Plaintiffs herein were not aware of the extent of the surveillance

or the fact that the "volunteers" Henstock and Fontes were employees of PETA until

after PETA filed Endangered Species Act litigation in the United States District Court

of Maryland in 2017, and only discovered the illegal audio recording and the agency

relationship of Henstock and Fontes in April, 2018, through discovery produced

during that lawsuit, which discovery is still the subject of an ongoing dispute, and

may ultimately produce evidence of further illegal activity.

       25.    The Defendants have further engaged other persons such as

Defendants Holly Brown and Casey Brown. Upon information and belief, the Browns




                                           7
      Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 8 of 19




were volunteers who were asked to act as investigators and were compensated or

reimbursed for expenses.

        26.     Upon information and belief, Holly Brown and Casey Brown are not

licensed as private investigators, but were required to be so licensed by the laws of

the State of Maryland, therefore, committed a criminal misdemeanor by undertaking

an investigation of the Plaintiffs' facility.

       27.     During 2017, Defendants Brown visited the Plaintiffs' facility under

false pretenses and took photographs of Mbube, a beloved member of the zoo, who

was stricken with a pituitary tumor or other condition causing Addison's Disease,

which caused an emaciated condition. The lion was under the care of a veterinarian

and was being treated with testosterone and other medications to see if he would

respond to that treatment and begin to regain weight. PETA complained to the USDA

APHIS service, and a direction was written to obtain a second opinion from a large

cat expert. Due to that direction by the USDA, the lion was tranquilized, samples

were drawn, and those samples confirmed the original diagnosis. Nothing was

gained other than further trauma and distress to the lion, caused by PETA.

       28.     A short time later, the lion was euthanized due to his illness.

       29.     PETA did not honestly represent what had happened to Mbube, but to

make maximum fundraising gains out of the incident, dishonestly represented what

had happened on its website.

       30.     PETA published a photo of the lion in an emaciated condition, taken

surreptitiously by an undercover agent believed to have been Defendant Brown, and

made numerous false statements about the lion and the treatment it had received by



                                                8
      Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 9 of 19




the Plaintiffs, stating, among other things, that the zoo had failed "to provide an

ailing, dramatically underweight lion named Mbube with adequate veterinary care."

In fact, the USDA did not cite the zoo for failing to provide adequate care, but simply

wanted the zoo to seek a second opinion before euthanizing the lion, due to the fact

that PETA had made a complaint.

       31.     PETA has a long history of mischaracterizing inspection reports by the

USDA APHIS service as "citations" even when deficiencies noted on those forms are

given a time frame for correction, and are not fineable or even subject to

adjudication unless the facility fails to correct the noted condition.

       32.     PETA further claimed that "[a]t Tri-State, two ring-tailed lemurs are

kept in a woefully inadequate enclosure devoid of any environmental enrichment.

Social animals by nature, they are deprived of appropriate companionship, and their

living conditions are unsafe and unsanitary." Those statements about the care and

safety of the lemurs were completely false.

       33.     PETA further claimed that "[f]ive tigers are kept at this roadside zoo

in decrepit enclosures without proper enrichment, food, potable water, shelter, or

sanitation. Free-roaming animals expose them to the risk of diseases, and staff force

them to engage in inappropriate and dangerous interactions with the public. In

addition, three of the tigers—Kumar, Cayenne, and India—are housed together

despite evidence of incompatibility, which causes them significant stress and puts

them at risk of injury."

       34.    Almost every word of the statement in paragraph 31, above, was false

at the time it was written and remains false to this day. The tigers have adequate



                                           9
      Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 10 of 19




enclosures, water, food, and sanitation. The free roaming animals around Tri State

are no more of a problem than at any other zoo or animal refuge. The animals are

not forced into dangerous and inappropriate interactions with the public.

Furthermore, the three tigers housed together have never shown any evidence of

incompatibility, after eleven years in the same enclosure with one another, and even

after having been raised together since birth.

       35.     PETA further published on its website "[s]ince the death of Mbube,

another lion named Peka has been held at the zoo in complete isolation, which is

particularly harmful since lions are social animals. Like the other animals

imprisoned at this zoo, Peka doesn't receive proper enrichment, food, shelter,

housing, or sanitation, and she, too, is forced into unnatural interactions with

visiting tourists."

       36.     The statement above, in paragraph 33, is likewise false in many of its

elements, and makes misleading and material omissions in other ways. For

example, it is completely false that Peka does not receive proper enrichment, food,

shelter, housing, or sanitation, or that she is forced into unnatural interactions with

visitors. While it is true that she is now the only lion at Tri State, PETA neglects to

state why—it is because PETA had been threatening to file a lawsuit under the

Endangered Species Act in the United States District Court in Baltimore, and it made

no sense to the Plaintiffs to obtain another lion while that lawsuit was pending.

Further, there is no legal requirement that a lion be grouped with other lions.

       37.     PETA furthermore engages in inflammatory rhetoric through social

media and its email lists, and as a result, Plaintiff Robert Candy has received



                                           10
      Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 11 of 19




telephone calls and letters accusing him of all manner of animal cruelty. The

Facebook page for Plaintiff Tri-State Zoological Park contains many positive

reviews, but mixed among them are vehemently profane and negative reviews, one

of them even coming from someone who admits to never having been to the Tri

State Zoo, and who does not live in the United States, but states that the zoo has a

worldwide reputation for being a dirty place with starving animals. No animal has

ever starved at Tri State Zoo.

       38.     One person, who identifies herself on the Facebook social media site

as Kristine Staser, Defendant herein, states that she is an undercover agent for

PETA, and as to Tri State Zoological Park, says the following on Tri State Zoological

Park's Facebook page [with expletives partially stricken from the original]:

        "A lion DIED there from lack of veterinary care and starvation!! Are you
people that selfish to continue to pay GREEDY A**HOLES worth of toxic waste
money so animals are available for YOUR selfish entertainment and
amusement??? Deplorable conditions....starving
animals....suffering...cruelty....ENOUGH!!! Shut the f***ing pr**k down!!!

       39.    Another commenter states:

         I have not been there as I don't live in the USA, but the notoriety of this zoo
has spread around the world with information that the animals live in small,
squalid, cages that are filthy. The tiger lives in deplorable conditions with a small
bowl of filthy water, nowhere to run and stretch, nowhere to swim ( tigers love the
water). The Capuchin is so depressed and unhappy that he pulls his fur out,
musing to live in a cage - nowhere to climb, run and no others for company. This
place needs to be closed down, and it's animals relocated to sanctuaries. To allow
it to remain as it is, in intolerable, inhumane and downright cruel.

       40.    Upon information and belief, it was PETA that falsely published a

story that Dodger, the capuchin monkey at the zoo, pulls his fur out from distress,

when that is not the case.


                                          11
     Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 12 of 19




       41.    Another person, seeing the photograph of the lion as published by

PETA, falsely presented by PETA as being thin due to neglect, states as follows,

with expletives partially deleted from the original:

       Just saw how skinny your lion is! You disgusting people, what the f--k is the
matter with you? You are keeping animals in deplorable conditions, depressed,
stressed, under fed, in enclosures that represent hell! For GOD'S sake, shut down
and get someone with experience in housing them to come and rescue them and
then lock yourselves in the yards and rot! The USDA should take your license
away and then you should be put in jail for animal cruelty!!! You vile people!!!

       42.    Plaintiff Robert Candy has further received offensive telephone calls

from people reacting to calls by PETA to take action and call the zoo and express

their outrage. Given PETA's false statements and misleading commentary, it is

small wonder that those persons are often quite abusive to Mr. Candy on the

telephone.

       43.    In the Summer of 2017, the Defendant PETA filed an Endangered

Species Act claim in the United States District Court of Maryland, alleging that

Plaintiffs' treatment of the animals constituted "harming or harassing" the

animals covered by the Endangered Species Act, namely, two lemurs, five

tigers and a lion.

       44.    The Federal case proceeds apace, but no matter the outcome of

that litigation, the statements that PETA has made publicly about Tri State are

false and misleading and give rise to this separate cause of action.

       45.    The case filed by PETA in the United States District Court was

not filed in good faith. The legal argument is tenuous at best, and during the



                                         12
     Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 13 of 19




course of discovery in that case, PETA has not limited itself to inspection of

the tigers, lion, and lemur areas, but insisted on viewing nearly every square

inch of the zoo and photographing the same. Their photographer even stuck

his camera outside of the fence and took photos of construction debris not on

the zoo grounds. There is little doubt these photographs will later be used for

further abuse of the Plaintiffs, no matter the outcome of the litigation. The

litigation was filed for an improper and extortionate purpose.

       46.   Upon information and belief, PETA agents have trespassed upon

the zoo premises to gather information by fraud, by not disclosing their

affiliation with PETA as requested, by entering restricted areas for the taking

of photographs, by making secret video and audio recordings, with the audio

recordings being a violation of the Maryland Electronic Surveillance Act, and

by directly lying to Robert Candy about not having any affiliation with any

animal rights group, even while they were making a secret audio recording of

conversations with Plaintiff Robert Candy and volunteers at the zoo.

                                     COUNT I
                                 DEFAMATION
                                 All Defendants

      47.    The Plaintiffs incorporate paragraphs 1 through 46, above, as

though set forth fully under this Count.

      48.    The Defendants made false and defamatory statements about

the Plaintiffs, both per se and per quod, with actual malice, without privilege,



                                       13
     Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 14 of 19




and the Plaintiffs have suffered reputational injuries from those false

statements, including the following:

              a.    By stating that the Plaintiffs failed to feed the animals in

their care.

              b.    By stating that the Plaintiffs failed to provide water to the

animals in their care.

              c.    By stating that the Plaintiffs failed to provide veterinary

care for the animals in their care.

              d.    By stating that the Plaintiffs' animals were distressed,

mistreated, and abused.

              e.    By implying that the Plaintiffs were directly responsible

for the death of the lion Mbube, and falsely stating that the zoo had failed to

provide him with veterinary care. The USDA report directly contradicts that

statement, noting that the lion was under the care of a veterinarian. The USDA

ultimately approved of the course of treatment of the lion and approved of

euthanasia when its condition worsened, through no fault of the Plaintiffs.

              f.    By stating that the zoo was cited by the USDA for failing to

provide veterinary care to an animal when the characterization of the

inspection report as a "citation" was false and misleading, and intended to

produce public scorn and ridicule against the Plaintiffs.




                                       14
     Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 15 of 19




       49.   An allegation of animal abuse is an allegation of a criminal act,

and is actionable as defamation per se.

       50.   The statements made by the Defendants were published widely

through PETA's website, email lists, and press releases.

       51.   The statements made by the Defendants were false, and were

made either maliciously or negligently.

       52.   The Defendants had no legal privilege to make the false

statements that were made.

      53.    The statements made by Defendants exposed the Plaintiffs to

public hatred, contempt, scorn, and ridicule, and discouraged others from

having a good opinion of the Plaintiffs.

      54.    The Defendants have not retracted or otherwise attempted to

mitigate the damages from their false statements.

      WHEREFORE, the Plaintiffs pray that this Honorable Court:

      A.     Enter judgment against all Defendants, jointly and severally, in

an amount not to exceed $74,500 (Seventy Four Thousand Five Hundred

Dollars), whether actual, punitive, or a combination of the two.

                                   COUNT II
                                FALSE LIGHT
                                All Defendants

      55.    The Plaintiffs incorporate paragraphs 1 through 54, above, as

though set forth fully under this Count.



                                       15
        Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 16 of 19




         56.    As an alternative to Defamation for all of the false statements set

forth above, the Defendants have intentionally cast the Plaintiffs in a false

light, for all of the reasons stated above, and by doing so, have caused injury

to the Plaintiffs' reputations.

         57.   The actions of Defendants were malicious and without privilege,

and were undertaken simply because the Defendants hate the idea of zoos

and zookeeping, not because any of the statements made by Defendants were

true.

WHEREFORE, the Plaintiffs pray that this Honorable Court:

         A.    Enter judgment against all Defendants, jointly and severally, in

an amount not to exceed $74,500 (Seventy Four Thousand Five Hundred

Dollars), whether actual, punitive, or a combination of the two.

                                 COUNT III
    Tortious Interference with Business Relations/Prospective Advantage
                               All Defendants

         58.   The Plaintiff incorporates paragraphs 1 through 57, above, as

though set forth fully under this Count.

         59.   The Defendants have engaged in tortious interference with the

business relations and prospective advantage of the Plaintiffs and have done

so maliciously and without privilege.

         WHEREFORE, the Plaintiffs pray that this Honorable Court:




                                        16
     Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 17 of 19




        A.    Enter judgment against all Defendants, jointly and severally, in

an amount not to exceed $74,500 (Seventy Four Thousand Five Hundred

Dollars), whether actual, punitive, or a combination of the two.

                                    COUNT IV
                                 Civil Conspiracy
                                 All Defendants

        60.   The Plaintiffs incorporate Paragraphs 1 through 59, above, as

though set forth fully under this Count.

        61.   The Defendants trespassed by deception, subterfuge, or fraud

upon the property of the Plaintiffs and did so without privilege and with

malice, in order to obtain information to which they had no right.

        62.   The Plaintiff was not fully apprised of the trespass until April of

2018,

        WHEREFORE, the Plaintiffs pray that this Honorable Court:

        A.    Enter judgment against all Defendants, jointly and severally, in

an amount not to exceed $74,500 (Seventy Four Thousand Five Hundred

Dollars), whether actual, punitive, or a combination of the two.

                                    COUNT V
                                   TRESPASS
                                 All Defendants

        63.   The Plaintiffs incorporate Paragraphs 1 through 60, above, as

though set forth fully under this Count.




                                       17
     Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 18 of 19




        64.   The Defendants trespassed by deception, subterfuge, or fraud

upon the property of the Plaintiffs and did so without privilege and with

malice, in order to obtain information to which they had no right.

        65.   The Plaintiff was not fully apprised of the trespass until April of

2017.

        WHEREFORE, the Plaintiffs pray that this Honorable Court:

        A.    Enter judgment against all Defendants, jointly and severally, in

an amount not to exceed $74,500 (Seventy Four Thousand Five Hundred

Dollars), whether actual, punitive, or a combination of the two.

                                      COUNT VI
                                       FRAUD
                                   All Defendants

        66.   The Plaintiffs incorporate Paragraphs 1 through 65, above, as

though set forth fully under this Count.

        67.   All Defendants engaged in fraudulent conduct by entering onto

the premises under false pretexts or conspiring to enter onto the premises by

false pretext or active deception.

        68.   Defendants Henstock and Fontes, under the direction and

instruction of Defendants Peet and Winders, actively and repeatedly lied to

the Plaintiffs in order to gain access to the Plaintiffs' facility, and did so

maliciously and with the intention of gaining access for the purpose of

harming the Plaintiffs, manufacturing a bad faith complaint against the



                                         18
     Case 1:18-cv-01549-PX Document 2 Filed 05/29/18 Page 19 of 19




Plaintiffs, injuring the Plaintiffs' business interests, and ultimately, for the

purpose of defaming the Plaintiffs and attempting to extort the Plaintiffs'

property from them.

      69.     Their actions were undertaken without privilege, with

maliciously false statements known to be false at the time, with the intention

to deceive the Plaintiffs, and the Plaintiffs did in fact reasonably rely upon the

false statements and were deceived by the false statements to their

detriment.

      WHEREFORE, the Plaintiffs pray that this Honorable Court:

      A.     Enter judgment against all Defendants, jointly and severally, in

an amount not to exceed $74,500 (Seventy Four Thousand Five Hundred

Dollars), whether actual, punitive, or a combination of the two.

                                          Respectfully Submitted,


                                         _s/Nevin L. Young
                                         NEVIN L. YOUNG
                                         CPF No. 0512150328
                                         170 West Street
                                         Annapolis, Maryland 21401
                                         410-353-9210
                                         nyoung@burlingtonyounglaw.com




                                        19
